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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

VOLVO FINANCIAL SERVICES, a division of
VFS US LLC,
                                                                         8:23CV67
                         Plaintiff,

        vs.                                                 ORDER TO SUPPLEMENT THE
                                                                    RECORD
CENTUR INC. EXP., CEZAR ROBERTS, and
CORNERSTONE STORAGE, LLC,

                         Defendants.


       This case is before the Court on plaintiff Volvo Financial Services’ August 15, 2023,

Motion for Default Judgment against Centur Inc., Exp., and Cezar Roberts. Filing 47. The Court

has reviewed the submissions by Volvo Financial Services in support of its Motion as well as the

Complaint in this case and finds that while the items of damages in Plaintiff’s Brief in Support of

Motion for Default Judgment, Filing 48, appear to be consistent with the amounts for those items

in the Affidavit of Tara Disher Maxey, Filing 49, Exhibit A, the total amount due that Plaintiff has

claimed, $71,229.34, is incorrect. Filing 48 at 5 ¶ 13. This error leads the Court to believe that the

calculated per diem rate of $28.14 is likewise incorrect. Filing 48 at 5 ¶ 13. Federal Rule of Civil

Procedure 55(b)(2) provides in pertinent part that “[t]he court may conduct hearings or make

referrals—preserving any federal statutory right to a jury trial—when, to enter or effectuate

judgment, it needs to…determine the amount of damages [or] establish the trust of any allegation

by evidence. . . .” Fed. R. Civ. P. 55(b)(2). Because the Court “may” conduct such a hearing, the

Court believes that it may also obtain necessary evidence by filing of appropriate affidavits and

exhibits. Accordingly,




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       IT IS ORDERED that plaintiff Volvo Financial Services shall have seven (7) days from

the date of this Order within which to file evidence and a supporting affidavit demonstrating its

calculations for damages and pre-judgment interest as of October 27, 2023, and for the per diem

rate for post-judgment interest.

       IT IS FURTHER ORDERED that if plaintiff Volvo Financial Services fails to make the

required submission within the time provided, the Motion for Default Judgment will be denied

without further notice.



                   20th day of October, 2023.
       Dated this ___

                                                    BY THE COURT:


                                                    _________________________
                                                    Brian C. Buescher
                                                    United States District Judge




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